Case 7:18-cv-00503-TTC-RSB Document 60 Filed 10/20/20 Page 1 of 1 Pageid#: 528

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION

 DEWAYNE BAKER,                              )
                                             )
        Plaintiff,                           )       Civil Action No. 7:18cv00503
                                             )
 v.                                          )       MEMORANDUM OPINION
                                             )
 MELVIN DAVIS, et al.,                       )       By: Hon. Thomas T. Cullen
                                             )           United States District Judge
        Defendants.                          )


        Plaintiff DeWayne Baker, proceeding pro se, filed this civil action under 42 U.S.C.

 § 1983. By conditional filing orders entered October 15 and November 27, 2018, the court

 advised Baker that he must notify the court in writing immediately upon his transfer or release

 and must provide the court with his new address. (See ECF Nos. 3 and 26). On September

 30, 2020, an order the court mailed to Baker was returned as undeliverable and with no

 forwarding address. (See ECF No. 59.) Baker has not provided the court with an updated

 address. Accordingly, the court will dismiss this action without prejudice for failure to comply

 with the court’s order. The court notes that this dismissal is without prejudice to Baker’s

 opportunity to refile his claims in a separate civil action, subject to the applicable statute of

 limitations.

        ENTERED this 20th day of October, 2020.


                                                       /s/ Thomas T. Cullen
                                                     ________________________________
                                                     HON. THOMAS T. CULLEN
                                                     UNITED STATES DISTRICT JUDGE
